         Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 1 of 27



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



ASIA TV USA LTD., MSM ASIA LTD., STAR             NO. 17-CV-06977 (GBD)
INDIA PRIVATE LTD., VIACOM18 MEDIA
PRIVATE LIMITED, ARY DIGITAL USA LLC,
and DISH NETWORK L.L.C.,

                          Plaintiffs,
           v.

DIBIA NETWORKS LIMITED and
ABDELLAH HAMEAD,

                          Defendants.




    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
DEFAULT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS




                                      Robert D. Balin
                                    Lacy H. Koonce, III
                                    L. Danielle Toaltoan
                              DAVIS WRIGHT TREMAINE LLP
                                1251 Avenue of the Americas
                                New York, New York 10020
                                   Attorneys for Plaintiffs




4852-1407-9337v.13 0090227-000009
         Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 2 of 27



                                               TABLE OF CONTENTS

                                                                                                                                      Page

I.     INTRODUCTION .............................................................................................................. 1
II.    FACTUAL BACKGROUND ............................................................................................. 2
       A.        Plaintiffs’ Businesses and Television Programming ...............................................2
       B.        Defendants’ BTV Device and Pirate Retransmission Service .................................3
       C.        Defendants’ Default .................................................................................................6
III.   ARGUMENT ...................................................................................................................... 7
       A.        Jurisdiction ...............................................................................................................7
       B.        Standard for Default Judgment ................................................................................7
       C.        Defendants Are Liable for Copyright Infringement ................................................8
       D.        Defendants’ Copyright Infringement Entitles Plaintiffs to Statutory
                 Damages ...................................................................................................................9
                 1.         Defendants’ Willfulness.............................................................................12
                 2.         Deterrent Effect on Defendants and Other Infringers ................................13
                 3.         Defendants Failed to Provide Records .......................................................13
                 4.         Value of the Copyrights .............................................................................14
                 5.         Profits Reaped by Defendants ....................................................................14
       E.        Damages Sought in This Case ...............................................................................15
       F.        Plaintiffs Are Entitled to a Permanent Injunction ..................................................16
                 1.         Plaintiffs Have Suffered Irreparable Injury ...............................................17
                 2.         The Balance of Hardships and Public Interest Favor an Injunction ..........18
                 3.         This Court Has Authority to Order Third-Party Injunctive Relief ............18
       G.        Plaintiffs Are Entitled to Post-Judgment Discovery ..............................................20
IV.    CONCLUSION ................................................................................................................. 21




                                                                   i
4852-1407-9337v.13 0090227-000009
            Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 3 of 27



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Federal Cases

Agence France Presse v. Morel,
   2014 WL 3963124 (S.D.N.Y. Aug. 13, 2014) ...................................................................10, 15

Am. Broad. Cos. v. Aereo, Inc.,
   134 S. Ct. 2498 (2014) ...............................................................................................................9

Apple Computer, Inc. v. Franklin Computer Corp.,
   714 F.2d 1240 (3d Cir. 1983)...................................................................................................18

Arista Records, LLC v. Doe 3,
    604 F.3d 110 (2d Cir. 2010).......................................................................................................9

Broadcast Music, Inc. v. Prana Hospitality, Inc.,
   158 F. Supp.3d 184 (S.D.N.Y. 2016).......................................................................................13

China Cent. Television v. Create New Tech. (HK) Ltd.,
   No. CV 15-1869, 2016 WL 6871281 (C.D. Cal. Apr. 4, 2016) ..............................................20

China Cent. Television v. Create New Tech. (HK) Ltd.,
   No. CV 15-1869 (ECF No. 192) (C.D. Cal. May 31, 2016) ..........................................1, 11, 20

City of N. Y. v. Mickalis Pawn Shop, LLC,
    645 F.3d 114 (2d Cir. 2011).......................................................................................................7

Columbia Pictures Television, Inc. v. Krypton Broad. of Birmingham, Inc.,
   259 F.3d 1186 (9th Cir. 2001) .................................................................................................10

Cotton v. Slone,
   4 F.3d 176 (2d Cir. 1993)...........................................................................................................8

D.H. Blair & Co. v. Gottdiener,
   462 F.3d 95 (2d Cir. 2006).........................................................................................................8

Dish Network L.L.C. v. Butt,
   No. 15-cv-00706 (ECF No. 124) (E.D. Va. Jan. 24, 2017) (Judgment Order) ....................2, 11

Disney Enters., Inc. v. Merchant,
   No. 6:05-CV-1489, 2007 WL 1101110 (N.D.N.Y. Apr. 10, 2007).........................................17

eBay Inc. v. MercExchange, L.L.C.,
   547 U.S. 388 (2006) .................................................................................................................16



                                                                    ii
4852-1407-9337v.13 0090227-000009
            Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 4 of 27



EM Ltd. v. Republic of Argentina,
  695 F.3d 201 (2d Cir. 2012), aff’d sub nom. Republic of Argentina v. NML
  Capital, Ltd., 134 S. Ct. 2250 (2014) ......................................................................................20

Eros Entm’t, Inc. v. Melody Spot, L.L.C.,
   No. 99 CV 1157 SJ, 2005 WL 4655385 (E.D.N.Y. Oct. 11, 2005) ........................................11

Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,
   499 U.S. 340 (1991) ...................................................................................................................8

Fitzgerald Publ’g Co. v. Baylor Publ’g Co.,
    807 F.2d 1110 (2d Cir. 1986).............................................................................................11, 12

Graduate Mgmt. Admission Council v. Raju,
   267 F. Supp. 2d 505 (E.D. Va. 2003) ......................................................................................11

Hounddog Prods., L.L.C. v. Empire Film Grp., Inc.,
   826 F. Supp. 2d 619 (S.D.N.Y. 2011)................................................................................10, 12

Langenberg v. Sofair,
   No. 03 Civ. 8339 (KMK) (FM), 2006 WL 3518197 (S.D.N.Y. Dec. 7, 2006) .........................8

Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc.,
   658 F.3d 936 (9th Cir. 2011) ...................................................................................................11

Lyons P’ship, L.P. v. AAA Entm’t Inc.,
   No. 98CIV.0475DABMHD, 1999 WL 1095608 (S.D.N.Y. Dec. 3, 1999) .............................15

N.A.S. Import, Corp. v. Chenson Enters., Inc.,
   968 F.2d 250 (2d Cir. 1992).....................................................................................................12

N.Y. Chinese TV Programs, Inc. v. U.E. Enters., Inc.,
   No. 89 Civ. 6082RWS (KAR), 1991 WL 113283 (S.D.N.Y. June 14, 1991),
   aff’d, 954 F.2d 847 (2d Cir. 1992) ...........................................................................................12

Nat’l Football League v. PrimeTime 24 Joint Venture,
   131 F. Supp. 2d 458 (S.D.N.Y. 2001)................................................................................10, 12

New York v. Green,
   420 F.3d 99 (2d Cir. 2005).........................................................................................................8

The North Face Apparel Corp. and PRL USA Holdings, Inc. v. Fujian Sharing
   Imp. & Exp. Ltd.,
   No. 10-CIV-1630 (S.D.N.Y. Sept. 8, 2010) ............................................................................20

Peer Int’l Corp. v. Luna Records, Inc.,
   887 F. Supp. 560 (S.D.N.Y. 1995) ..........................................................................................11



                                                                    iii
4852-1407-9337v.13 0090227-000009
             Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 5 of 27



Peer Int’l Corp. v. Pausa Records, Inc.,
   909 F.2d 1332 (9th Cir. 1990) .................................................................................................10

Psihoyos v. John Wiley & Sons, Inc.,
   748 F.3d 120 (2d Cir. 2014).....................................................................................................15

Rogers v. Ecolor Studio,
   No. 11-CV-4493, 2013 WL 752256 (E.D.N.Y. Feb. 7, 2013), report and
   recommendation adopted, No. 11-CV-4493(ARR)(RER), 2013 WL 750120
   (E.D.N.Y. Feb. 27, 2013) .........................................................................................................15

Rovio Entm’t, Ltd. v. Allstar Vending, Inc.,
   97 F. Supp. 3d 536 (S.D.N.Y. 2015)..................................................................................12, 14

Salinger v. Colting,
    607 F.3d 68 (2d Cir. 2010).................................................................................................16, 17

Stevens v. Aeonian Press, Inc.,
    No. 00 Civ. 6330(JSM),2002 WL 31387224 (S.D.N.Y. Oct. 23, 2002) .................................12

Tu v. TAD Sys. Tech. Inc.,
   No. 08-CV-3822 (SLT)(RM), 2009 WL 2905780 (E.D.N.Y. Sept. 10, 2009) ............10, 13, 14

TVB Holdings (USA), et al. v. HTV Int’l Ltd., et al.,
   No. 16-cv-1489 (ECF No. 85-2) (E.D.N.Y. June 1, 2018) ..................................................2, 11

Vermont Teddy Bear Co., Inc. v. 1-800 Beargram Co.,
   373 F.3d 241 (2d Cir. 2004).......................................................................................................8

Warner Bros. Entm’t, Inc. v. Doe,
  No. 14-cv-3492 (S.D.N.Y. Oct. 3, 2014) .................................................................................20

WPIX, Inc. v. ivi, Inc., 691 F.3d 275 (2d Cir. 2012) ..................................................................9, 18

Federal Statutes

17 U.S.C.
   §§ 101 et seq. (Copyright Act) ......................................................................................... passim
   § 106(1) ..................................................................................................................................8, 9
   § 106(3)-(4) ............................................................................................................................8, 9
   § 501.......................................................................................................................................8, 9
   § 502(a) ....................................................................................................................................16
   § 504(c) ......................................................................................................................................9
   § 505.........................................................................................................................................16




                                                                        iv
4852-1407-9337v.13 0090227-000009
             Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 6 of 27



28 U.S.C.
   § 1331.........................................................................................................................................7
   § 1338.........................................................................................................................................7
   § 1391(b) ....................................................................................................................................7
   § 1961(a) ..................................................................................................................................21

Rules

Fed. R. Civ. P.
   55................................................................................................................................................7
   55(a) ...........................................................................................................................................7
   55(b) ...........................................................................................................................................8
   69(a)(2) ....................................................................................................................................20

Other Authorities

International Copyright Relations of the United States, Circular 38. A, U.S.
    Copyright Office (https://copyright.gov/circs/circ38a.pdf) .......................................................3




                                                                          v
4852-1407-9337v.13 0090227-000009
         Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 7 of 27



       Plaintiffs Asia TV USA Ltd., MSM Asia Ltd., Star India Private Ltd., Viacom18 Media

Private Limited, ARY Digital USA LLC (collectively, the “Network Plaintiffs”), and Plaintiff

DISH Network L.L.C. (“DISH”) respectfully submit this memorandum of law in support of their

motion for default judgment against Defendants Dibia Networks Limited (“Dibia”) and Abdellah

Hamead (“Hamead”).

       I.      INTRODUCTION

       Television broadcasters face an onslaught of infringement by pirates who seek to cash in

on valuable TV programming without paying a licensing fee. These infringers—like

Defendants—intercept TV programming and then provide that pirated programming, without

authorization, over the internet to viewers through set-top boxes or other devices or services.

       In this case, Defendants pirate the Network Plaintiffs’ TV programming by selling the

“BTV” set-top device and related services online and through local resellers to customers in the

United States. Through these set-top boxes and the BTV service, Defendants—without

permission or payment to Plaintiffs—stream infringing copies of Plaintiffs’ copyrighted TV

programs to owners of those devices. Each BTV device includes a software interface that enables

BTV users to access and view infringing streams of the Network Plaintiffs’ copyrighted

television programs 24 hours per day, 7 days per week. Despite receiving numerous cease and

desist letters, Defendants continue to brazenly intercept, stream, and infringe Plaintiffs’

copyrighted programs.

       This action concerns willful infringement by unrepentant defendants. And given that

Defendants capture entire channels of Plaintiffs’ television programming and stream that

programming over the Internet on a continual basis, the scale of Defendants’ ongoing

infringement is immense. In prior cases against similar infringers, courts have issued permanent

injunctions and statutory damages in amounts exceeding what is sought here. See, e.g., China

                                                  1
4852-1407-9337v.13 0090227-000009
         Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 8 of 27



Cent. Television v. Create New Tech. (HK) Ltd., No. CV 15-1869 (ECF No. 192), at 4, ¶ 7 (C.D.

Cal. May 31, 2016) (Order Granting Plaintiffs’ Motion for Default Judgment and Permanent

Injunction Against Defendants) (awarding $55 million in copyright and trademark statutory

damages to Plaintiffs); Dish Network L.L.C. v. Butt, No. 15-cv-00706 (ECF No. 124) (E.D. Va.

Jan. 24, 2017) (Judgment Order) (awarding over $25 million in statutory damages, consisting of

$150,000 per work infringed); TVB Holdings (USA), et al. v. HTV Int’l Ltd., et al., No. 16-cv-

1489 (ECF No. 85-2) (E.D.N.Y. June 1, 2018) (awarding $46,140,000 in statutory damages,

consisting of $30,000 per work infringed) (Declaration of L. Danielle Toaltoan, dated September

25, 2018 (“Toaltoan Decl.”), Exs. B - F)

       Plaintiffs sent dozens of pre-action cease and desist letters to Defendants (Declaration of

Alex Fonoroff, dated August 9, 2018 (“Fonoroff Decl.”), Ex. B, (Declaration of Nicolas

Anagnostpoulos, dated September 24, 2018 (“Anagnostpoulos Decl.”), ¶¶ 4-7.) and thereafter

served Defendants with the Complaint in this infringement action on September 20, 2017 (ECF

No. 13) (Dibia) and October 19, 2017 (Hamead). Defendants willfully ignored Plaintiffs’ cease

and desist letters, continued their infringement unabated even after this lawsuit was commenced,

and then defaulted. Plaintiffs seek a default judgment to obtain economic and injunctive relief

for Defendants’ massive, willful and ongoing infringement of Plaintiffs’ copyrighted television

programs.

       II.     FACTUAL BACKGROUND

               A.     Plaintiffs’ Businesses and Television Programming

       Network Plaintiffs are TV broadcasters and distributors who have rights to exploit in the

United States a wide variety of popular TV programming from India and Pakistan, including




                                                2
4852-1407-9337v.13 0090227-000009
          Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 9 of 27



episodic dramas, the majority of which is in the Hindi and Urdu languages1 (the “TV

Programming”). (Complaint (ECF No. 1) (“Compl.”) ¶¶ 31, 43.)2 The Network Plaintiffs hold

exclusive rights to reproduce, publicly perform, transmit, and distribute the TV Programming in

all media in the United States. (Id. ¶¶ 12-22.) In the United States, the Network Plaintiffs

distribute the TV Programming and the TV channels featuring the Programming through license

agreements with cable and satellite carriers and other television distributors, including DISH,

who pay Network Plaintiffs or their affiliates licensing fees for the right to distribute their TV

channels and programs to customers in the United States. (Id. ¶¶ 22-23.) As a result of such

agreements, DISH also holds certain exclusive rights to reproduce, distribute, and publicly

perform the TV Programming in the United States. (Id. ¶ 23.)

                 B.       Defendants’ BTV Device and Pirate Retransmission Service

        Plaintiffs brought this copyright infringement action to combat the global pirate

television services that Defendants have provided to their customers using the “BTV” set-top

box. (Id. ¶ 1.) The BTV device is a set-top box that unlawfully streams the Network Plaintiffs’

TV Programming to BTV customers over the Internet without the customers paying subscription

fees to the Plaintiffs or to their authorized licensees. (Compl. ¶ 34) (See Declaration of Nick

Braak, dated September 24, 2018 (“Braak Decl.”) ¶¶ 11, 27, 40.) The BTV device connects to a

BTV user’s internet connections, through a WiFi signal or an Ethernet cable, to access streaming

video content. (Compl. ¶ 35.) (See Braak Decl., ¶ 28.) Once the BTV device is connected to a

user’s television set and Internet connection, it is ready for use, with no installation of apps or


1
  India and Pakistan are signatories to the Berne Convention for the Protection of Literary and Artistic Works, the
key international agreement governing copyright, which requires signatory countries to afford equal treatment to the
works of authors from other signatories. See International Copyright Relations of the United States, Circular 38. A,
U.S. Copyright Office (https://copyright.gov/circs/circ38a.pdf).
2
  See also, e.g., Fonoroff Decl., Exhibit A (list of Network Plaintiffs’ copyrighted TV episodes infringed by
Defendants).


                                                         3
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 10 of 27



user agreement required before the user is able to stream multiple channels within a single live

mode app. (Compl. ¶ 36.) (See Braak Decl., ¶¶ 20.) As early as September 2014, Defendants

have streamed the Network Plaintiffs’ TV Programming 24 hours a day/7 days a week, by (1)

capturing television signals being transmitted by Network Plaintiffs and other broadcasters in

India, Pakistan, and elsewhere; (2) converting those signals into a digital format suitable for

streaming over the internet; (3) creating and disseminating digital copies of Network Plaintiffs’

TV Programming to store on United States servers; and (4) transmitting the pirated video streams

of the Network Plaintiffs’ TV Programming to BTV users in the United States over the Internet

through the “Live” section of the BTV device (the “BTV Retransmission Service”). (Compl. ¶

31.) (See Braak Decl., ¶ 29.) (See Anagnostpoulos Decl., ¶ 5.) Defendants also purport to offer

Plaintiffs’ TV Programming through video on demand services.

       It is clear from the design, marketing, and cost of the BTV device that it has no purpose

other than to deliver infringing TV Programming to BTV users. (Compl., ¶¶ 32, 44.) Defendants

designed the BTV box to stream the TV Programming via pre-populated apps and channel icons

available through the menu options on the device. (Compl. ¶¶ 37-41.) (See Braak Decl., ¶ 30.)

The BTV device’s TV section also allows users to view channels grouped by language (e.g.,

Hindi and Urdu). (Compl. ¶ 43.) (Braak Decl., ¶ 38.) Among the TV Programming infringed by

Defendants are 44 television episodes owned by the Networks Plaintiffs that have been

registered with the United States Copyright Office (the “Registered Works”). (See Fonoroff

Decl., ¶ 4, Ex. A.) (list of copyright registrations) (Declaration of Akhilesh Gupta, dated August

2, 2018 (“Gupta Decl.”), Ex. B.) (Declaration of Jaideep Janakiram, dated July 30, 2018

(“Janakiram Decl.”), Ex. B.) (copies of registration certificates).




                                                  4
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 11 of 27



       At least as recently as August 30, 2018, Defendants have offered BTV devices for online

sale to customers in this judicial district for approximately $299 per device via the fully

commercially interactive website located at the URL “www.btv.co” (the “BTV Website”)

(Compl. ¶¶ 56-64.) (See Braak Decl., ¶ 7.) BTV devices are also being offered for sale to

customers in this judicial district for about $269 per device via the interactive website located at

the URL www.btvbox.com. (the “BTV Box Website”) (See Braak Decl., ¶¶ 5-6.) For this one-

time, up-front payment, BTV customers in the United States have received access to view

unlicensed television channels and television programs from India, Pakistan, and other countries

indefinitely, with no monthly or yearly fees. (Compl. ¶¶ 34, 52.) (See Braak Decl., ¶ 6.) In

addition, several vendors on eBay are listing the BTV device, including at least one shop in

Jackson Heights, Queens whose eBay listing page says it has sold 20 units and has seven more

available. (See Braak Decl., ¶ 7.) The availability of infringing TV Programming from the

Network Plaintiffs has represented a significant draw and motivation for purchasers of the BTV

device and enabled Defendants to sell more BTV devices at higher prices than they otherwise

could. (Compl. ¶ 46.) Unbranded Android-based set-top boxes without such access to infringing

programming sell for as low as $20 at retail. (Compl. ¶ 46.)

       In addition, Defendants aggressively advertise and promote the BTV Retransmission

Service and the infringing capabilities of the BTV device. (Compl. ¶¶ 48-54.) Defendants’

marketing materials tout the ability of BTV users to stream the Network Plaintiffs’ copyrighted

TV Programming. For example, Defendants promote the BTV device on the BTV Website and

its Facebook page located at www.facebook.com/Btv-Box-173483802696603 (the “BTV

Facebook Page”). (Compl. ¶ 54.) (Braak Decl., ¶ 17.) Moreover, Defendants and their retailers

promote the availability of unlicensed TV Programming from the Network Plaintiffs through the



                                                  5
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 12 of 27



device on the BTV Website and the BTV Box Website by identifying the Network Plaintiffs’ TV

channels and shows available for streaming on the BTV device. (See Braak Decl., ¶¶ 14-16, Ex.

3.) (See Declaration of Surender Singh Mann, dated September 26, 2018 (“Mann Decl.”), ¶ 4.)

       Defendants undoubtedly profit from the copyright infringement carried out via the BTV

Retransmission Service. Defendants obtain the Network Plaintiffs’ TV Programming illegally,

without paying for licenses, and then provide U.S. customers with a much cheaper, one-time

payment for that TV Programming than if those customers had subscribed to the TV

Programming through authorized providers in the United States, who must pay for the right to

distribute such Programming to U.S. customers. (Compl. ¶¶ 22-23, 27.) Further, the availability

of infringing TV Programming from the Network Plaintiffs on the BTV device represents a

significant draw and motivation for purchasers of that device, enabling Defendants to sell more

BTV devices at higher prices than they otherwise could. (Compl. ¶ 46.) Defendants thus rely for

the success of their business on the infringing public performances they transmit through the

BTV Retransmission Service. (Compl. ¶ ¶ 46-47.)

               C.      Defendants’ Default

       Prior to filing this lawsuit, Plaintiffs sent dozens of cease and desist letters to Defendants

at the contact information listed on the BTV Website, demanding that they stop their infringing

activities. (Compl. ¶ 55.) (Fonoroff Decl., ¶¶ 5-6, Ex. B.) (Anagnostpoulos Decl., ¶¶ 4-6.) The

cease-and-desist letters identified infringing channels and provided a representative list of the

Network Plaintiffs’ TV Programs streamed without authorization through the BTV device.

Defendants did not respond to any of the cease-and-desist letters, nor did they cease their

infringing activities. (Compl. ¶ 55.) (Fonoroff Decl., ¶ 6.) (Anagnostpoulos Decl., ¶ 7.) Instead,

despite receipt of these notices, Defendants continued to deliberately operate the BTV

Retransmission Service, continued to unlawfully stream Plaintiffs’ TV Programming, and

                                                 6
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 13 of 27



continued to market, advertise, and promote the infringing capabilities of the BTV device, with

full knowledge of the infringing nature of their activities. (See Compl. ¶ 55.)

       Plaintiffs filed this action on September 13, 2017 (ECF No. 1). Plaintiffs thereafter

served the Summons, Complaint and related papers on Defendant Dibia on September 20, 2017

(ECF No. 13) and on Defendant Hamead on October 19, 2017 (Toaltoan Decl., ¶ 2.) Defendants

failed to respond to the Complaint. Accordingly, the Clerk of Court entered a default against

Defendant Hamead on January 29, 2018 (ECF No. 22) and against Defendant Dibia on February

13, 2018 (ECF No. 26) (Toaltoan Decl., ¶ 2, Ex. A.)

       III.    ARGUMENT

               A.      Jurisdiction

       This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.

§§ 1331 and 1338 because they arise under the Copyright Act, 17 U.S.C. §§ 101 et seq. (Compl.

¶ 27.) Personal jurisdiction over Defendants is proper because they have purposefully conducted

business activities within the State of New York by, among other things, transmitting, selling and

supplying the BTV Retransmission Services to customers and retailers in the State of New York

and the Southern District of New York, causing injury to Plaintiffs in this State and in this

District. (Id. ¶¶ 28, 56-64.) (See Braak Decl., ¶¶ 5-6.) Venue is proper in this District under 28

U.S.C. § 1391(b). (Id. ¶ 28.)

               B.      Standard for Default Judgment

       Rule 55 of the Federal Rules of Civil Procedure provides a two-step process for obtaining

a default judgment. See City of N. Y. v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 128-29 (2d Cir.

2011). First, under Fed. R. Civ. P. 55(a), the clerk must enter a notation of default when a party

has demonstratively failed to defend. Here, the Clerk of Court of this District has entered a

default against Defendants. (See Toaltoan Decl., Ex. A.) Second, upon obtaining a clerk’s

                                                 7
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 14 of 27



notation of default, “a plaintiff must next seek a judgment by default under Rule 55(b).” New

York v. Green, 420 F.3d 99, 104 (2d Cir. 2005).

       The Second Circuit has held that where a plaintiff’s allegations are well pled, and a

defendant has failed to appear in connection with the case, default judgment is appropriate.

Vermont Teddy Bear Co., Inc. v. 1-800 Beargram Co., 373 F.3d 241, 246 (2d Cir. 2004).

Following an entry of default, all factual allegations of the complaint, except those pertaining to

the amount of damages, must be accepted as true. See Cotton v. Slone, 4 F.3d 176, 181 (2d Cir.

1993). In other words, a party’s default is deemed an admission of the plaintiff’s well-pled

allegations of fact pertaining to liability. See D.H. Blair & Co. v. Gottdiener, 462 F.3d 95, 107

(2d Cir. 2006). “Additionally, although a plaintiff seeking to recover damages against a

defaulting defendant must prove its claim through the submission of evidence, the Court need

not hold a hearing as long as it has (i) determined the proper rule for calculating damages on the

claim, and (ii) the plaintiff’s evidence establishes, with reasonable certainty, the basis for the

damages specified in the default judgment.” Langenberg v. Sofair, No. 03 Civ. 8339 (KMK)

(FM), 2006 WL 3518197, at *1 (S.D.N.Y. Dec. 7, 2006) (internal citations omitted).

               C.      Defendants Are Liable for Copyright Infringement

       Plaintiffs have shown that Defendants are liable for direct copyright infringement. To

prove their direct copyright infringement claim, Plaintiffs must establish: (1) their ownership of

valid copyrights; and (2) violation by Defendants of at least one of Plaintiffs’ exclusive rights in

those copyrights. See 17 U.S.C. § 501; Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340,

361 (1991). Among the rights the Copyright Act confers on owners of copyrights in audiovisual

works and motion pictures are the exclusive rights “to reproduce the copyrighted work,” “to

distribute copies . . . of the copyrighted work to the public,” and “to perform the copyrighted

work publicly.” 17 U.S.C. § 106 (1), (3)–(4).

                                                  8
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 15 of 27



       Through their well-pled allegations in the Complaint, Network Plaintiffs have established

that they are the owners of valid copyrights and/or the relevant exclusive rights under United

States copyright law in Plaintiffs’ copyrighted TV programs. (See Compl. ¶¶ 12-24, 65-69.)

(Gupta Decl., ¶ 4, Ex. A.) (Janakiram Decl., ¶ 4, Ex. A.) Plaintiffs have also established

Defendants’ violation of their reproduction, distribution and performance rights in their

copyrighted works. Defendants stream infringing copies of Plaintiffs’ copyrighted TV

Programming to their end user customers. (See id. ¶¶ 30-55.) By streaming infringing copies of

Plaintiffs’ copyrighted TV Programming, Defendants infringe Plaintiffs’ public performance

rights in those works. See Am. Broad. Cos. v. Aereo, Inc., 134 S. Ct. 2498, 2510 (2014); WPIX,

Inc. v. ivi, Inc., 691 F.3d 275, 277–78 (2d Cir. 2012). Further, by copying infringing digital video

files of Plaintiffs’ TV Programming on servers in the United States (see Braak Decl., ¶¶ 29, Ex.

4.) for streaming to BTV devices, Defendants infringe Plaintiffs’ reproduction and distribution

rights. See Arista Records, LLC v. Doe 3, 604 F.3d 110, 122 (2d Cir. 2010).

       Plaintiffs have thus established that Defendants infringe Plaintiffs’ copyrights by

reproducing, distributing and publicly performing Plaintiffs’ copyrighted works, without

authorization from Plaintiffs, in violation of 17 U.S.C. §§ 106(1) and (3)–(4) and 501.

               D.      Defendants’ Copyright Infringement Entitles Plaintiffs to Statutory
                       Damages

       As discussed below, Plaintiffs have identified 44 separate TV episodes that Plaintiffs

registered with the U.S. Copyright Office and that Defendants infringed. (See Compl. ¶¶ 12, 14,

16, 18, 66) (Fonoroff Decl., Ex. A.) These registered episodes represent only a very small

fraction of the works infringed by Defendants. Plaintiffs elect to recover statutory damages for

Defendants’ copyright infringement. Where, as here, there is infringement of registered works,

17 U.S.C. § 504(c) provides for an award of statutory damages of up to $30,000 per work


                                                 9
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 16 of 27



infringed in cases of non-willful infringement, and up to $150,000 per work infringed in cases of

willful infringement.

       Defendants—as a strategic tactic to avoid defending this action on the merits—have

intentionally defaulted. As a result, Plaintiffs do not know the full extent of Defendants’ sales

and profits and have no readily independent means of establishing that amount with any

certainty. That, however, does not impair Plaintiff’s claim for statutory damages. See Agence

France Presse v. Morel, 2014 WL 3963124, at *10 (S.D.N.Y. Aug. 13, 2014) (“In the context of

the Copyright Act, it is clear that statutory damages can be awarded even in the absence of

sufficient evidence supporting actual damages…”); Tu v. TAD Sys. Tech. Inc., No. 08-CV-3822

(SLT)(RM), 2009 WL 2905780, at *6 (E.D.N.Y. Sept. 10, 2009) (“Because of Defendants’

default in this matter, the Court has almost no evidence to adjudge the” amount of actual

damages; “[y]et, the failure to establish actual damages does not impair this Court’s ability to

devise a proper statutory award”, awarding statutory maximum of $150,000 per work infringed).

       Courts have wide latitude in determining the amount of statutory damages in a particular

case. And in cases like this one where the Defendants’ infringement is flagrant, courts in the

Second Circuit and elsewhere have granted plaintiffs large statutory damages awards for willful

copyright infringement. See, e.g., Hounddog Prods., L.L.C. v. Empire Film Grp., Inc., 826 F.

Supp. 2d 619, 631-32 (S.D.N.Y. 2011) (awarding maximum statutory damages); Nat’l Football

League v. PrimeTime 24 Joint Venture, 131 F. Supp. 2d 458, 475, 482 (S.D.N.Y. 2001)

(awarding then-maximum statutory damages of $100,000 per work for 18 infringed telecasts);

accord Columbia Pictures Television, Inc. v. Krypton Broad. of Birmingham, Inc., 259 F.3d

1186, 1195 (9th Cir. 2001) (affirming $31.68 million statutory damages award); Peer Int’l Corp.

v. Pausa Records, Inc., 909 F.2d 1332, 1336-37 (9th Cir. 1990) (affirming award of maximum



                                                 10
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 17 of 27



statutory damages); Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 658 F.3d 936, 946-47 (9th

Cir. 2011) (same); Graduate Mgmt. Admission Council v. Raju, 267 F. Supp. 2d 505, 511-12

(E.D. Va. 2003) (awarding maximum statutory damages for 22 infringed works).

        Indeed, in cases involving very similar facts—where the defendant has willfully provided

infringing TV content to users of internet-connected set-top boxes—courts have granted large

statutory damages awards, up to and including maximum statutory damages per work infringed.

See Create New Tech., No. CV 15-1869 [ECF No. 192], at 4, ¶ 7 (over $55 million in copyright

and trademark statutory damages); Dish Network L.L.C. v. Butt, No. 15-cv-00706 (ECF No. 124)

(E.D. Va. Jan. 24, 2017) (Judgment Order) (awarding $25 million, consisting of $150,000 per

work infringed); TVB Holdings (USA), et al. v. HTV Int’l Ltd., et al., No. 16-cv-1489 (ECF No.

85-2) (E.D.N.Y. June 1, 2018) (awarding $46,140,000 in statutory damages, consisting of

$30,000 per work infringed) (Toaltoan Decl., Exs. B, C and F).

        The factors considered by courts to determine the amount of statutory damages in

copyright infringement cases include: (i) expenses saved and profits reaped by defendant;

(ii) revenues lost by plaintiff; (iii) value of the copyright; (iv) deterrent effect on other infringers

besides the defendant; (v) whether the defendant’s conduct was innocent or willful; (vi) whether

a defendant has cooperated in providing records from which to assess the revenue from

infringement; and (vii) the potential for deterring the defendant. See Fitzgerald Publ’g Co. v.

Baylor Publ’g Co., 807 F.2d 1110, 1117 (2d Cir. 1986). Under the Copyright Act, enhanced

statutory damages are intended to compensate plaintiffs and deter future willful infringement.

See Eros Entm’t, Inc. v. Melody Spot, L.L.C., No. 99 CV 1157 SJ, 2005 WL 4655385, at *10

(E.D.N.Y. Oct. 11, 2005); Peer Int’l Corp. v. Luna Records, Inc., 887 F. Supp. 560, 568

(S.D.N.Y. 1995). Statutory damages serve as an important deterrent, and “‘the court must award



                                                   11
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 18 of 27



an amount that will put the defendant on notice that it costs more to violate the copyright law

than to obey it.’” Stevens v. Aeonian Press, Inc., No. 00 Civ. 6330(JSM),2002 WL 31387224, at

*1 (S.D.N.Y. Oct. 23, 2002) (citation omitted); see also N.Y. Chinese TV Programs, Inc. v. U.E.

Enters., Inc., No. 89 Civ. 6082RWS (KAR), 1991 WL 113283, at *4 (S.D.N.Y. June 14, 1991),

aff’d, 954 F.2d 847 (2d Cir. 1992). The Copyright Act gives courts “wide discretion” in applying

these factors to set an award of statutory damages. Fitzgerald Publ’g, 807 F.2d at 1116.

Application of the relevant factors supports a substantial award here.

                       1.      Defendants’ Willfulness

       Defendants’ infringement of Plaintiffs’ copyrighted TV programming is unquestionably

willful and, indeed, egregious. Willfulness in this context “‘means that the infringer either had

actual knowledge that it was infringing the plaintiffs’ copyrights or else acted in reckless

disregard of the high probability that it was infringing plaintiffs’ copyrights.’” Nat’l Football

League, 131 F. Supp. 2d at 475-86 (citation omitted). Knowledge “need not be proven directly

but may be inferred from the defendant’s conduct,” N.A.S. Import, Corp. v. Chenson Enters.,

Inc., 968 F.2d 250, 252 (2d Cir. 1992), and where a defendant has defaulted, the Court may infer

willfulness on that ground alone. See Rovio Entm’t, Ltd. v. Allstar Vending, Inc., 97 F. Supp. 3d

536, 546 (S.D.N.Y. 2015) (“Copyright infringement is deemed willful by virtue of a defendant’s

default.”); Hounddog Prods., 826 F. Supp. 2d at 631-32 (inferring willfulness from default and

awarding maximum statutory damages).

       Plaintiffs have shown that Defendants have willfully engaged in the infringing

reproduction, distribution and public performance of Plaintiffs’ copyrighted works. Specifically,

Defendants have continued to infringe Plaintiffs’ TV programing 24 hours a day/7 days a week

even after being sent multiple cease and desist letters and even after Plaintiffs filed this lawsuit.

Indeed, the infringement continues today. (Fonoroff Decl., ¶¶ 5-6, Ex. B) (Anagnostpoulos

                                                  12
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 19 of 27



Decl., ¶¶ 5-7.) Plaintiffs have also presented evidence that Defendants actively promote and

advertise use of the BTV devices to infringe Plaintiffs’ rights. (See Braak Decl., ¶¶ 14-17.)

Defendants’ willfulness is manifest.

                       2.      Deterrent Effect on Defendants and Other Infringers

       Given the consumer demand for Plaintiffs’ TV Programming, it is safe to assume that

Defendants’ sales of the BTV device and of subscriptions to the BTV Retransmission Service

have been significant. (Compl. ¶ 46.) Moreover, Defendants do not merely infringe a television

episode or two, but literally pirate all of the Plaintiffs’ TV programming by illegally streaming

the Network Plaintiffs’ TV channels on a continual basis. (Braak Decl., ¶¶ 30, 40.) This is

exactly the sort of large scale illegal enterprise that courts seek to deter through significant

statutory damages awards. As stated by this Court:

       It is an unfortunate irony that the progression of technology diminishes our ability
       to safeguard the intellectual property that is the lifeblood of further technological
       progress. Defendants’ misuse of technology to pirate Plaintiffs’ product was an
       egregious and willful act designed to “sneer” in the face of Plaintiffs’ copyright
       and intellectual property laws. An award of the enhanced statutory maximum is
       appropriate and reasonable to compensate Plaintiffs and to deter Defendants and
       future infringers.

Tu, 2009 WL 2905780, at *6; see also Broadcast Music, Inc. v. Prana Hospitality, Inc., 158 F.

Supp.3d 184, 197-98 (S.D.N.Y. 2016) (enlarging statutory damage award to deter future conduct

and in response to considerable evidence that defendants willfully infringed plaintiffs’ copyrights

by, among other things, disregarding a total of 48 demand letters).

                       3.      Defendants Failed to Provide Records

       By their failure to appear, Defendants have also robbed Plaintiffs of their entitlement to

discovery of vital information, including the amount of Defendants’ sales, the identity of their

suppliers, manufacturers and agents and their affiliation with other potential infringers of the

Network Plaintiffs’ TV Programming. Defendants thus have doubly harmed Plaintiffs: first by

                                                  13
4852-1407-9337v.13 0090227-000009
          Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 20 of 27



soliciting massive infringement of Plaintiffs’ TV Programming, and second by hobbling

Plaintiffs’ ability to investigate and pursue a larger copyright protection program. This leaves

Plaintiffs with the sole available remedy of a substantial award of statutory damages.

Defendants’ non-cooperation therefore further supports substantial statutory damages.

                         4.      Value of the Copyrights

          Plaintiffs own exclusive rights in popular TV programming in the enormous television

markets of India and Pakistan, among others, with consequently large audiences among Hindi

and Urdu-speaking people in the United States. (See Compl. ¶¶ 10, 12-23.) This is precisely why

Defendants have flooded the U.S. market with pirated Indian and Pakistani TV programming.

(See Compl. ¶ 46.) The value of Plaintiffs’ copyrighted works is inestimable, and Defendants’

infringing activities deprive Plaintiffs of licensing revenue from legitimate exploitation of their

copyrighted TV Programming and deprive Plaintiffs of the right and ability to control when,

where, and how Plaintiffs’ copyrighted TV Programming is reproduced, distributed and

performed. (Gupta Decl., ¶ 7) (Janakiram Decl., ¶ 7) (George Decl., ¶ 7.

                         5.      Profits Reaped by Defendants

          As discussed above, the Defendants have failed to appear before this Court and have

robbed Plaintiffs of the opportunity for discovery into the scope of their operations. While

Plaintiffs have little knowledge of the true extent of Defendants’ operations, the fact that

Defendants marketed their BTV devices through the Internet to a “virtually limitless number of

customers” creates a presumption of high volumes of sales. Tu, 2009 WL 2905780, at *6 (citing

cases).

          In this context, the Court is, at the very least, entitled to assume significant profits reaped

by Defendants and to place heavy emphasis on the willfulness and deterrence factors. See Rovio

Entm’t, 97 F. Supp. 3d 536 (awarding $100,000 per copyrighted work infringed in light of

                                                    14
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 21 of 27



defendants’ default); Rogers v. Ecolor Studio, No. 11-CV-4493, 2013 WL 752256, at *7

(E.D.N.Y. Feb. 7, 2013) (“[D]ue to Defendants’ default and failure to participate in pretrial

discovery . . .[,] the Court’s statutory damages determination [wa]s informed significantly by the

imperatives of penalizing Defendants’ willful infringement and deterring other potential

infringers.”), report and recommendation adopted, No. 11-CV-4493(ARR)(RER), 2013 WL

750120 (E.D.N.Y. Feb. 27, 2013); Lyons P’ship, L.P. v. AAA Entm’t Inc., No.

98CIV.0475DABMHD, 1999 WL 1095608, at *6 (S.D.N.Y. Dec. 3, 1999) (“[B]y virtue of their

infringement and their default in this case, these defendants have made it difficult or impossible

for plaintiff to develop a detailed record of the amount of the infringers’ revenues derived from

the infring[ement] . . . . Of necessity, then, ambiguities in the record must be read against the

defendants.”).

       Moreover, courts in this Circuit have held that evidence of actual damages is not

necessary in awarding statutory damages. As the Second Circuit recently ruled, “[a]lthough

revenue lost is one factor to consider, we have not held that there must be a direct correlation

between statutory damages and actual damages. To suggest otherwise is to ignore the various

other factors a court may consider and the purposes of statutory damages in the willful

infringement context.” Psihoyos v. John Wiley & Sons, Inc., 748 F.3d 120, 127 (2d Cir. 2014);

see also Agence France Presse v. Morel, 2014 WL 3963124, at * 10 (S.D.N.Y. Aug, 13, 2014)

(“In the context of the Copyright Act, it is clear that statutory damages can be awarded even in

the absence of sufficient evidence supporting actual damages.)

                 E.    Damages Sought in This Case

       In connection with this motion, Plaintiffs have enumerated 44 separate TV episodes that

are registered with the U.S. Copyright Office that Defendants have infringed. (Fonoroff Decl. ¶¶

4, Ex. A.) Based on the above discussed aggravating factors, and in particular the continued and

                                                 15
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 22 of 27



comprehensive nature of the infringement, the Court is well within its discretionary authority to

award the maximum statutory damages of $150,000 per registered work infringed by

Defendants’ flagrantly willful infringement. Based on the enumerated 44 infringed copyrighted

works, this amounts to statutory damage of $6,600,000 (i.e., $150,000 per work infringed x 44

registered works = $6,600,000.00). Again, these 44 infringed works represent only a small

fraction of Defendants’ massive infringement of Plaintiffs’ copyrighted television TV

Programming. Defendants’ BTV devices and infringing retransmission service illegally stream

Plaintiffs’ entire channels, and the individual copyrighted television episodes that appear on

those channels, 24 hours a day, seven days a week. They have done so for years.

       Under these circumstances, an award of $150,000 per work infringed for each of the 44

TV episodes registered with the US Copyright Office—for a total of $6,600,000—is entirely

warranted and appropriate. Notably, Plaintiffs are not seeking an award of their attorneys’ fees

and costs, which they are entitled to do as the prevailing party under 17 U.S.C. § 505.

               F.      Plaintiffs Are Entitled to a Permanent Injunction

       In addition to the foregoing relief, Plaintiffs respectfully request entry of a permanent

injunction enjoining Defendants from further infringement. The Copyright Act provides that a

federal court has the power to issue “final injunctions on such terms as it may deem reasonable

to prevent or restrain infringement of a copyright.” 17 U.S.C. § 502(a).

       To obtain a permanent injunction, a plaintiff must show: (1) an irreparable injury; (2) the

inadequacy of remedies available at law, such as monetary damages; (3) that, considering the

balance of hardships between the parties, a remedy in equity is warranted; and (4) that the public

interest would not be disserved by a permanent injunction. See eBay Inc. v. MercExchange,

L.L.C., 547 U.S. 388, 391 (2006); Salinger v. Colting, 607 F.3d 68, 79-80 (2d Cir. 2010). These

“eBay factors” weigh in favor of issuing the requested injunction.

                                                16
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 23 of 27



                       1.      Plaintiffs Have Suffered Irreparable Injury

       The Second Circuit in Salinger v. Colting recognized that while courts must not simply

presume irreparable harm in copyright cases, “[t]his is not to say that most copyright plaintiffs

who have shown a likelihood of success on the merits would not be irreparably harmed absent []

injunctive relief.” Salinger, 607 F.3d at 82. Furthermore, “courts have tended to issue injunctions

in this context because ‘to prove the loss of sales due to infringement is . . . notoriously

difficult.’” Id. at 81 (quoting Omega Importing Corp. v. Petri-Kine Camera Co., 451 F.2d 1190,

1195 (2d Cir. 1971)). Consequently, irreparable harm has been readily found in copyright

infringement cases. Salinger concerned a preliminary injunction, but courts in this Circuit have

said much the same about permanent injunctions. See, e.g., Disney Enters., Inc. v. Merchant, No.

6:05-CV-1489, 2007 WL 1101110, at *6 (N.D.N.Y. Apr. 10, 2007) (“Permanent injunctions are

routinely awarded in favor of copyright owners whose protected works have been

misappropriated in order to serve the public’s interest in upholding copyright protections.”).

       Defendants’ unauthorized public performance, distribution and display of Plaintiffs’ TV

Programming cause Plaintiffs irreparable harm in a number of ways, including by (a) directly

competing with authorized subscriptions to their television Programming, thereby causing lost

market share and price erosion for legitimate services; (b) disrupting the Network Plaintiffs’

relationships with authorized distributors in the United States and elsewhere; (c) depriving

Plaintiffs of their exclusive rights to control the distribution and quality of the copyrighted TV

Programming, in particular the Network Plaintiffs’ ability to grant more lucrative exclusive

licenses; and (d) interfering with Plaintiffs’ ability to develop a lawful market for the TV

Programming in the United States. (Gupta Decl., ¶ 7.) (Janakiram Decl., ¶ 7.) Moreover, given

Defendants’ strategic default in this matter and their overseas locations (with Dibia in Hong

Kong and Hamead in Japan), Defendants will likely attempt to evade paying any money

                                                  17
4852-1407-9337v.13 0090227-000009
         Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 24 of 27



judgment. These facts further support a finding of irreparable harm. See, e.g., WPIX, Inc., 691

F.3d at 285–87 (infringing internet streaming of plaintiffs’ TV programming constituted

irreparable harm since (i) that streaming would substantially diminish the programming’s value,

(ii) the plaintiffs’ losses were difficult to measure and monetary damages insufficient to remedy

the harms, and (iii) the defendant would have been unable to pay damages).

                        2.     The Balance of Hardships and Public Interest Favor an
                               Injunction

         As explained above, the harm to Plaintiffs is irreparable. On the other hand, requiring

Defendants to cease infringing Plaintiffs’ copyrights will not harm Defendants because they have

no legitimate interest in continuing the infringement. Further, “the public has a compelling

interest in protecting copyright owners’ marketable rights to their work and the economic

incentive to continue creating television programming.” WPIX Inc., 691 F.3d at 287. “Since

Congress has elected to grant certain exclusive rights to the owner of a copyright in a protected

work, it is virtually axiomatic that the public interest can only be served by upholding copyright

protections . . .” Apple Computer, Inc. v. Franklin Computer Corp., 714 F.2d 1240, 1255 (3d Cir.

1983).

                        3.     This Court Has Authority to Order Third-Party Injunctive
                               Relief

         Given the breadth of Defendants’ intentional infringement, which was orchestrated from

outside the United States, and their reliance on domain name registries and registrars, and

internet service providers, to update the software on their devices and stream infringing video

content to users of their devices (see Braak Decl., ¶¶ 21-26, describing forensic analysis of BTV

device and the domain names and servers used by Defendants to facilitate its operation), the

Court should order that: (i) third parties who provide sales, distribution, shipping or logistics

services for BTV Devices and/or Comparable Systems cease distributing, selling, advertising,

                                                 18
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 25 of 27



marketing or promoting any BTV Device and/or Comparable System; (ii) registries and

registrars disable the domain names used by the BTV device, the BTV Retransmission Service,

or any comparable device or service offered by Defendants now or in the future, and transfer

those domains to Plaintiffs; (ii) third parties who provide web, server or file hosting services,

data center or colocation services, or primary and backup storage services (including but not

limited to cloud storage services) used in connection with any of Defendants’ infringing

activities, including but not limited to the third parties providing hosting services for the internet

servers identified by Plaintiffs’ investigation and forensic analysis of the BTV Device (including

but not limited to servers providing streaming video, application files, and BTV Device

initialization, operation and authentication) cease providing such services to Defendants; and (iii)

third parties who provide services used in connection with the enjoined activities, including but

not limited to back-end service providers, service providers routing traffic or providing

bandwidth, content delivery networks, and domain name server systems (including but not

limited to CloudFlare, Incapsula and DNSPod), content hosting websites (including but not

limited to GitHub), search-based online advertising services (such as through paid inclusion, paid

search results, sponsored search results, sponsored links, and internet keyword advertising),

domain name registration privacy protection services, providers of social media services

(including but not limited to Facebook and Twitter), user generated and online content services

(including but not limited to YouTube) and data security services (including but not limited to

denial-of-service attack prevention, firewall and proxy services), cease providing any hosting

services used by the BTV device, the BTV Retransmission Service, or any comparable device or

service offered by Defendants now or in the future in connection with the infringement.




                                                  19
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 26 of 27



       This Court’s power to order the disabling of domain names is well established. See, e.g.,

Default Judgment and Permanent Injunction [ECF No. 29], at 4–6, The North Face Apparel

Corp. and PRL USA Holdings, Inc. v. Fujian Sharing Imp. & Exp. Ltd., No. 10-CIV-1630

(S.D.N.Y. Sept. 8, 2010) (ordered en masse transfer of domains as part of the permanent

injunction, based on statutory authorization of injunction, Rule 65 and the court’s inherent

equitable powers) (Toaltoan Decl., Ex. D); Default Judgment and Permanent Injunction Order

[ECF No. 27], Warner Bros. Entm’t, Inc. v. Doe, No. 14-cv-3492 (S.D.N.Y. Oct. 3, 2014)

(trademark and copyright action) (Toaltoan Decl., Ex. E).

       Thus, on very similar facts, in a lawsuit brought by Plaintiffs against the manufacturer

and distributors of another pirate set-top box, the court granted similar third-party injunctive

relief. See China Cent. Television v. Create New Tech. (HK) Ltd., No. CV 15-1869, 2016 WL

6871281, at *9 (C.D. Cal. Apr. 4, 2016) (granting permanent injunction to Plaintiffs); Create

New Tech., No. CV 15-1869 [ECF No. 192], at 9–10, ¶¶ 15–18 (ordering third-party injunctive

relief) (Toaltoan Decl., Ex. B).

       Defendants have made clear through their purposeful default and their continued

infringement even after this suit was filed against them that they will not comply with any

injunction. Thus, injunctive provisions directed to third-parties who are aiding and abetting

Defendants by providing services used by Defendants to operate their pirate television network

are necessary – upon proper notice to such parties – to halt Defendants’ infringement and any

future infringements by Defendants through use of the BTV device, the BTV Retransmission

Service, or any similar device or service.

               G.      Plaintiffs Are Entitled to Post-Judgment Discovery

       A court’s authority to order post-judgment discovery is broad so long as it is relevant to

or in aid of satisfying a judgment. See Fed. R. Civ. P. 69(a)(2); EM Ltd. v. Republic of Argentina,

                                                 20
4852-1407-9337v.13 0090227-000009
        Case 1:17-cv-06977-GBD Document 56 Filed 10/10/18 Page 27 of 27



695 F.3d 201, 207–08 (2d Cir. 2012) (“[B]road post-judgment discovery in aid of execution is

the norm in federal and New York state courts.”), aff’d sub nom. Republic of Argentina v. NML

Capital, Ltd., 134 S. Ct. 2250 (2014).

       Nonparties who have provided services to Defendants, including but not limited to

domain privacy services, internet service providers hosting content and social media platforms,

are likely to have information concerning the location of Defendants’ assets which could aid in

satisfying a judgement. As such, Plaintiffs are entitled to post-judgment discovery.

       IV.     CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request this Court grant default

judgment against Defendants, and award Plaintiffs statutory damages in the amount of

$6,600,00, post-judgment interest pursuant to 28 U.S.C. § 1961(a), a permanent injunction and

post-judgment discovery. Plaintiffs submit a proposed judgment together with this motion, which

is attached as Exhibit H to the accompanying Declaration of L. Danielle Toaltoan, dated

September 25, 2018.

Dated: October 10, 2018

                                                     Respectfully submitted,

                                                     By:   /s/ Robert D. Balin

                                                     DAVIS WRIGHT TREMAINE LLP
                                                     Robert D. Balin
                                                     (RobBalin@dwt.com)
                                                     Lacy H. Koonce, III
                                                     (LanceKoonce@dwt.com)
                                                     L. Danielle Toaltoan
                                                     (danielletoaltoan@dwt.com)
                                                     1251 Avenue of the Americas
                                                     New York, New York 10020
                                                     Telephone: (212) 489-8230
                                                     Facsimile: (212) 489-8340
                                                     Attorneys for Plaintiffs


                                                21
4852-1407-9337v.13 0090227-000009
